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UNITED STATES DISTRICT COURT
SOUTHERN DlSTRlCT OF NEW YORK
- -~ - ~x
ANTHONY CACERES, STIPULATION AND
ORDER OF
Plainfiff, SETTLEMENT AND
DISCONTINUANCE

 

 

*against-
THE CITY OF NEW YORK, LIEUTENANT JOSEPH 09 CW' 884 (SHS)
KOURAKOS, POLICE OFFICER JOSE ROSARlO
(SHIELD# 2l28), POLlCE OFFICER OSCAR DIAZ
(Sl-IIELD# 30l2), POLICE OFFICER CARL
BENNETT (SHIELD.# 29 l 80), POLICE OFFICER
ELVIN PICHARDO (SHIELD# 4287), POLICE
GFFICER YEISON NlNO (SHIELD# 27796), POLICE
OFFICER MICHAEL RODRIG U'EZ (SHIELD#
27618), POLICE OFFICER JAMES GILSON
(SHIELD# 8085) and POLICE OFFICER JOHN D()E
1~5,

Defendants.
____________________________ X

 

WHEREAS, plaintiff ANTHONY CACERES commenced this action by filing a
complaint on or about September 23, 2009, and an amended complaint on or about March 12,
ZOl(), alleging, inter alia, that defendants violated his federal civil rights; and

WHEREAS, defendants have denied any and all liability arising out of plaintiff s
allegations; and

WHEREAS, the parties now desire to resolve the issues raised in this litigation,
Without further proceedings and Without admitting any fault or liability; and

WHEREAS, plaintit"i`ANTHONY CACERES has authorized his counsel to settle
this matter on the terms set forth below;

N()W, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

and between the undersigned as follows:

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l. The above-referenced action is hereby dismissed With prejudice, and

2. The City of i\lew Yorl< hereby agrees to pay plaintiff Anthony Caceres the

 

total sum of FIFTY THOUSAND DOLLARS ($50,()00.()0) in full satisfaction of all claims,

 

including claims for costs, expenses and attorneys fees. In consideration for the payment of this
sum, plaintiff agrees to the dismissal vvith prejudice of all the claims against the defendants,
including, but not limited to, THE CITY ()F NEW YORK, LIEUTENANT JOSEPH
KOURAKOS, POLICE CFFICER JOSE ROSARIO (SHIELD# 2128), POLlCE OFFICER
OSCAR DIAZ (SHIELD# 30l2), POLICE OFFICER CARL BENNETT (SHIELD# 29!80),
POLICE OFFICER ELVIN PICHARDO (SHIELD# 4287), POLICE OFFICER YEIS()N NINO
(SHIELD# 27796), POLICE OFFICER MICHAEL RODRIGUEZ (SHIELD# 27618), POLICE
OFFICER JAl\/IES GILSON (SHIELD# 8085), and the individuals identified in the caption of
the amended complaint as POLICE OFFICER JOH'N DOE l-5 , and their successors or
assigns, and to release the defendants and any present or former officials, employees,
representatives and agents of the City of New Yorl<, or any agency thereof, including, but not
limited to, the Nevv York City Police Department and the New York City Department of
Correction, from any and all liabilityi claims, or rights of action that were or could have been
alleged in this action, including claims for costs, expenses and attorneys fees.

3. Plaintiff shall execute and deliver to defendants attorney all documents
necessary to effect this settlement, including, without limitation, a release based en the terms of

paragraph 2 above and an Affidavit of Status of Liens.

 

 

 

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4, Nothing contained herein shall be deemed to be an admission by any of
the defendants that they have in any manner or way violated plaintiff s rights, or the rights of any
other person or entity, as defined in the constitutions, statutes, ordinances., rules or regulations of
the United States the State of Nev {orl<, or the City of New Yorl< or any other rules, regulations
or bylaws of any department or subdivision of the City of New York. This stipulation and
settlement shall not be admissible in, nor is it related to, any other litigation or settlement
negotiations

5. Nothing contained herein shall be deemed to constitute a policy or practice
of the City of New Yorl< or any agency thereof

6. This Stipulation and Order contains all the terms and conditions agreed
upon by the parties hereto, and no oral agreement entered into at any time nor any written
agreement entered into prior to the execution of this Stipulation and Order regarding the subject
matter of the instant proceeding shall be deemed to exist, or to bind the parties hereto, or to vary
the terms and conditions contained herein.

Dated: New York New York
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Atrorrleyfor Plaz`nt§/jf Corporation Counsel of the City of New Yorl<
25 Bond Street 3d Floor0 Attr)merfor Dek)zdanrs

Brool<lyn Nev\ Yorkl lOO Church Street Room 3~2()9

       

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Wale eMosaku, Esq. § Maurice L Hudson
Attorney for Plaintiff Assistant Corporation Counsel
SO ORDERED;

Honorable Sidney H. Stein
United States District ludge

 

 

